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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


DEBORAH LAUFER,
         Plaintiff,                                    Case No. 3:20-cv-01046 (KAD)
v.

WINDSOR HOSPITALITY LLC,
       Defendant.

                                   AMENDED JUDGMENT

       The Defendant, having failed to plead, and default under Fed. R. Civ. P. 55(a)

having been entered on October 26, 2021; and the Plaintiff having filed a Motion for

Default Judgment pursuant to Fed. R. Civ. P. 55(b), and the Court having granted

Plaintiff’s Motion; it is hereby

       ORDERED, ADJUDGED and DECREED that, consistent with the Court’s order,

default judgment be and is hereby entered against the Defendant and in favor of the

Plaintiff. That Defendant must take whatever measures are necessary to ensure that its

website, whether offered through third parties or not, complies with 28 C.F.R. §

36.302(e) and must thereafter implement a practice of monitoring its website to ensure it

remains in compliance with § 36.302(e). The Court awards the Plaintiff $7,240.00 in

attorneys' fees. This case is closed.

        Dated at Bridgeport, Connecticut, this 18th day of January 2022.



                                                       Dinah Milton Kinney, Clerk

                                                       By: /s/ Kristen Gould
                                                          Kristen Gould
                                                           Deputy Clerk




EOD: 1/18/2022
